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              UNITED STATES DISTRICT COURT
       NORTHERN DISTRICT OF TEXAS – AMARILLO DIVISION

MIKE FISHER,                           §
    Plaintiff,                         §
                                       §
v.                                     §                               2:20-CV-64
                                       §
CITY OF AMARILLO, et al.,              §
    Defendants.                        §

     PLAINTIFF’S MOTION FOR LEAVE TO LATE FILE RESPONSE
                       NUNC PRO TUNC

      COMES NOW Plaintiff Fisher to move this Court for leave to file his

Response and Objections to Franchisor Defendants’ Motion to Dismiss 12(b)(6)

(Document 29) more than 21 days after the filing of said Motion to Dismiss.

                              I.     BACKGROUND

1.    Plaintiff would show the Court that the undersigned prepared and filed a

timely response to Document 29 on Friday, June 12, 2020. The undersigned

believed that the filing was successful and had no reason to suspect otherwise until

the following Monday, June 15, 2020. It then became apparent that some technical

difficulty or unintentional error had prevented the completion of the filing.

2.    Plaintiff has filed the response, currently in the docket as Doc. 42.

3.    No party will be prejudiced by the granting of this request.

4.    No conference has occurred on this motion. The parties have scheduled a

joint status meeting, and Plaintiff will have an additional opportunity to confer.


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                                  II.   PRAYER

5.     Plaintiff respectfully requests that this Court grant him leave nunc pro tunc

to file his Response to Franchisor Defendants’ Motion to Dismiss (Doc. 29) which

has been filed and in the Court’s docket (Doc. 42), so that said Response be

considered timely. Plaintiff believes that this will afford the Court the opportunity

to make a more complete assessment of the Motion’s merits.

Respectfully submitted,

     NORRED LAW, PLLC
     /s/ Warren V. Norred
     Warren V. Norred, Texas Bar No. 24045094; wnorred@norredlaw.com
     C. Chad Lampe, Texas Bar No. 24045042; chad@norredlaw.com
     515 E. Border Street; Arlington, Texas 76010
     Tel. (817) 704-3984; Fax. (817) 524-6686
     Attorney for Plaintiff



CERTIFICATE OF SERVICE - I certify that the above was served on all parties
seeking service in the instant case via the Court’s e-file system on June 15, 2020.

                          /s/Warren V. Norred

CERTIFICATE OF CONFERENCE - I certify that I attempted conference with
counsel with all parties by email on June 15, 2020. Because of the large number of
parties,
                           /s/Warren V. Norred




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DECLARATION UNDER PENALTY OF PERJURY

STATE OF TEXAS                  §
TARRANT COUNTY                  §

“My name is Warren Norred. My date of birth is February 21, 1963, and my
address is 515 E. Border St., Arlington, TX. I declare under penalty of perjury that
I have personal knowledge of the above statements of fact, particularly paragraphs
numbered 1-4, which are true and correct.”

EXECUTED on June 15, 2020.                   /s/Warren V. Norred
                                             Warren V. Norred




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